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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


 ILSA SARAVIA, et al.,                                Case No. 17-cv-03615-VC
                 Petitioners/Plaintiffs,
                                                      ORDER GRANTING IN PART
         v.                                           PLAINTIFFS' EMERGENCY
                                                      APPLICATION FOR RELIEF
 JEFFERSON B. SESSIONS, et al.,
                                                      Re: Dkt. No. 103
                 Respondents/Defendants.



       Having reviewed the plaintiffs' request for emergency relief relating to implementation of

the Court's November 20, 2017 Order, and after holding two telephonic conferences with the

parties, the Court grants the request in part and denies it in part, as set forth below.

1. Defendants must use best efforts to provide notice, for any hearings required by the

   November 20, 2017 Order for which notice has not previously been given, to all Class

   Members, their sponsors, individual attorneys of record, and Class Counsel, by 7:00 a.m.
   (PST) on Tuesday, November 28, 2017, setting forth in detail the time and place of the

   hearing.

2. Defendants will support any Class Member who requests a brief extension of time for the

   commencement of the hearing, or following the conclusion of the Government’s presentation

   of its evidence, to secure legal representation, prepare for the hearing, and/or respond to

   previously undisclosed allegations or evidence. Where the Class Member is unrepresented,

   the Government will request that the Immigration Judge continue the hearing to allow the

   Class Member to obtain counsel.
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3. Defendants will provide facility staff contact information for all facilities where Class

   Members are held to allow Class Counsel and attorneys representing Class Members in their

   hearings access to currently detained Class Members. This information shall be used only

   for the purpose of representing currently detained Class Members in hearings required by the

   Court's November 20, 2017 Order. Defendants have agreed to instruct all facilities where

   Class Members are being held to immediately allow their attorneys and Class Counsel to

   have access to them in person, by video conference and/or by telephone.

4. Because a further hearing pursuant to the Court's November 20, 2017 Order would be largely

   or entirely duplicative, Defendants must immediately release from detention any currently

   detained Class Member who has already had a Flores hearing after being rearrested, at which

   the Immigration Judge ruled that the Class Member has not been shown to be a danger or a

   flight risk, including three Class Members, O.C., J.G.R. and L.V.

5. Defendants must hold all hearings required by the November 20, 2017 Order in the

   jurisdiction in which the Class Member was living or was arrested when requested by the

   Class Member or his counsel. Where a Class Member is unrepresented, the Immigration

   Judge must inform the Class Member that the Class Member can request a transfer of the

   hearing to the jurisdiction of his home or arrest. The hearing must take place within two

   weeks of any request with respect to any Class Member who requests transfer under this
   paragraph. Plaintiffs agree to meet and confer with the Government in the event the

   Government notifies Class Counsel or a Class Member’s counsel that two weeks is

   impracticable and the Government believes additional time is required.



       IT IS SO ORDERED.

Dated: November 27, 2017
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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